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                               Exhibit C
United States of America ex rel. Ven-a-Care of the Florida Keys, Inc. v. Dey, Inc., et al.,
                           Civil Action No. 05-11084-PBS

        Exhibit to Plaintiff’s Memorandum In Support of United States’ Motion
             In Limine Regarding Testimony of Raymond C. Winter and
                          Sequencing of Deposition Testimony
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    1   IN THE COURT OF THE SECOND JUDICIAL CIRCUIT IN AND FOR
                         LEON COUNTY, FLORIDA
    2
        THE STATE OF FLORIDA                 )
    3                                        )
        ex rel.                              )
    4                                        )
                                             )
    5         VEN-A-CARE OF THE              )
              FLORIDA KEYS, INC.,            )
    6         a Florida Corporation, by      )
              and through its principal      )
    7         officers and directors,        )
              ZACHARY T. BENTLEY and         )
    8         T. MARK JONES,                 )
                                             )
    9                    Plaintiffs,         )
                                             )
   10   VS.                                  )   CIVIL ACTION NO.
                                             )   98-3032A
   11   BOEHRINGER INGELHEIM                 )
        CORPORATION; DEY, INC.; DEY,         )
   12   L.P.; EMD PHARMACEUTICALS,           )
        INC.; LIPHA, S.A.; MERCK,            )
   13   KGaA; MERCK-LIPHA, S.A.;             )
        SCHERING CORPORATION;                )
   14   SCHERING-PLOUGH CORPORATION;         )
        ROXANE LABORATORIES, INC.;           )
   15   and WARRICK PHARMACEUTICALS          )
        CORPORATION,                         )
   16           Defendants.                  )

   17

   18                           *-*-*-*-*

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   20

   21              VIDEOTAPED DEPOSITION OF HELEN SELENATI

   22                             Volume 2

   23

   24

   25
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    1                 On the 5th day of May, 2005, between the

    2   hours of 9:16 a.m. and 5:38 p.m., at the Marriott San

    3   Mateo San Francisco Airport, 1770 South Amphlett

    4   Boulevard, San Mateo, California, before me, CYNTHIA

    5   VOHLKEN, a Certified Shorthand Reporter for the State

    6   of Texas, appeared HELEN SELENATI, who, being by me

    7   first duly sworn, gave an oral deposition at the

    8   instance of the Plaintiffs in said cause, pursuant to

    9   the Florida Rules of Civil Procedure.

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    1                   A P P E A R A N C E S

    2
        FOR THE STATE OF FLORIDA:
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                Mark S. Thomas, Esquire
    4           Mary S. Miller, Esquire
                Assistant Attorneys General
    5           Office of the Attorney General
                Medicaid Fraud Control Unit
    6           PL-01, The Capitol
                Tallahassee, Florida 32399-1050
    7           (850) 414-3600

    8
        FOR THE RELATOR, VEN-A-CARE OF THE FLORIDA KEYS, INC.:
    9
                Gary L. Azorsky, Esquire
   10           Berger & Montague, P.C.
                1622 Locust Street
   11           Philadelphia, Pennsylvania   19103-6305
                (215) 875-3000
   12
                -and-
   13
                Mark D. Eibert, Esquire
   14           Cotchett, Pitre, Simon & McCarthy
                San Francisco Airport Office Center
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   16           (650) 697-6000

   17
        FOR THE DEFENDANT(S) BOEHRINGER INGELHEIM CORPORATION
   18   and ROXANE LABORATORIES, INC.:

   19           Bill L. Bryant, Jr., Esquire
                (Not Present)
   20           Akerman Senterfitt
                106 East College Avenue, Suite 1200
   21           Post Office Box 1877 (32302-1877)
                Tallahassee, Florida 32301
   22           (850) 224-9634

   23

   24

   25
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    1   FOR THE DEFENDANT(S) DEY, INC., DEY, L.P., EMD
        PHARMACEUTICALS, INC., LIPHA S.A., MERCK KGaA and
    2   MERCK-LIPHA S.A.:

    3           William A. Escobar, Esquire
                Antonia F. Giuliana, Esquire
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                101 Park Avenue
    5           New York, New York 10178
                (212) 808-7941
    6

    7   FOR THE DEFENDANT(S) SCHERING CORPORATION,
        SCHERING-PLOUGH CORPORATION and WARRICK
    8   PHARMACEUTICALS CORPORATION:

    9           John P. McDonald, Esquire
                Locke Liddell & Sapp, LLP
   10           2200 Ross Avenue, Suite 2200
                Dallas, Texas 75201-6776
   11           (214) 740-8000

   12
        ALSO PRESENT:
   13
                Mr. John M. Kling
   14                 Senior Vice President, Legal
                      Dey
   15           Mr. Raymond C. Winter
                      Texas Office of the
   16                 Attorney General
                Mr. Richard Rienstra, Videographer
   17

   18
                             *-*-*-*-*
   19

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    1       Q.      Did Mr. Mozak attempt to contact you on the

    2   phone?

    3                       MR. ESCOBAR:    When?

    4       Q.      (BY MR. AZORSKY)       After your -- anytime after

    5   your dinner meeting with him in the summer of 2000.

    6       A.      Yes, he called on occasion.       I think we even

    7   had dinner at the end of 2001 and then we had that

    8   dinner in the middle of 2002.          You know, we spoke on

    9   occasion.     Are you wanting to know about the November

   10   phone call in 2001?

   11       Q.      I'm just asking when he contacted you.       Did

   12   he contact you --

   13       A.      Yeah.

   14       Q.      -- in November of 2001?

   15       A.      Yes.     He contacted me in November of 2001.

   16       Q.      Do you remember the date?

   17       A.      November 5th and November 9th.

   18       Q.      Well, what was the nature of the contact that

   19   Mr. Mozak made on November 5th, 2001?

   20       A.      Well, he left a message on my answering

   21   machine saying that he wanted to talk to me about some

   22   issues concerning the discovery process and that I

   23   should call him at the office using the 800 number and

   24   that I should not call from home, but call from an

   25   outside phone because he didn't want to have a record
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    1   of our conversation.

    2       Q.   Did you keep a copy of that message that

    3   Mr. Mozak left on your telephone answering machine --

    4       A.   Yes.    I made --

    5       Q.   -- on --

    6       A.   I made a tape-recording of that message.

    7       Q.   And that's the message that he left on your

    8   answering machine on November 5, 2001?

    9       A.   Correct.

   10       Q.   And do you have the original tape from the --

   11   the answering machine?

   12       A.   Yes, I do.

   13       Q.   Did you bring that with you to this

   14   deposition?

   15       A.   Yes, I did.

   16       Q.   I'm handing you a cassette player containing

   17   a cassette tape and I'll ask you to look at that.      Is

   18   that your cassette player?

   19                   MR. ESCOBAR:    We just note on the record

   20   that I think it was given to you by Ms. Miller of the

   21   Florida attorney general's office.

   22                   MR. AZORSKY:    Yes, it was.

   23                   MR. ESCOBAR:    Thank you.

   24                   MR. AZORSKY:    Thank you.

   25       Q.   (BY MR. AZORSKY)      Is that your cassette
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    1   player?

    2       A.    Yes, it is.

    3       Q.    And would you take a look at the tape inside

    4   the cassette player?

    5       A.    Yeah.

    6       Q.    Can you identify that tape?

    7       A.    Yes, I can.

    8       Q.    What is that?

    9       A.    It's a tape that I made of the recordings of

   10   the messages that Bob Mozak left me on my answering

   11   machine on November 5th and November 9th, 2001.

   12       Q.    Now, as Mr. Escobar noted, the -- the

   13   cassette player and the cassette were handed to me by

   14   Ms. Miller of the Florida attorney general's office.

   15   How did Ms. Miller come in possession of that cassette

   16   player and tape?

   17       A.    I brought it in yesterday and gave it to her

   18   yesterday.

   19       Q.    Does the cassette player and tape appear to

   20   be in the same condition as when you gave it to her

   21   yesterday?

   22       A.    Yes, it does.

   23       Q.    You -- you said that the tape contains a

   24   recording of the message left on your answering

   25   machine by Mr. Mozak on November 5, 2001 and on
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    1   November 9, 2001; is that correct?

    2       A.   Correct.

    3       Q.   So Mr. Mozak called and left a message again

    4   on your answering machine on November 9, 2001?

    5       A.   That's correct.     I didn't return his phone

    6   call after that weird message he left me on November

    7   5th and then he re -- he called back on November 9th

    8   asking me to call him again.

    9       Q.   And aside from the two messages left on your

   10   answering machine by Mr. Mozak on November 5 and

   11   November 9, 2001, does the tape that you have in front

   12   of you contain anything else?

   13       A.   No, it doesn't.

   14       Q.   Would you turn on your machine so that we can

   15   hear the messages that Mr. Mozak left on your

   16   answering machine?

   17       A.   Sure.

   18                    MR. McDONALD:   And -- and before we get

   19   started, let's just be sure --

   20       A.   (Playing tape).

   21                    MS. SELENATI:   This is a recording that

   22   was left on my home phone recorder on Monday the 5th

   23   of November and the time difference is one hour off

   24   because I haven't yet set my recorder to the correct

   25   time after we set the clocks back at the end of
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     1   October.     This is a message left for me by Bob Mozak.

     2                    MR. MOZAK:     Hi, Helen.   It's a voice

     3   from your past.     It's Bob.     Hope all is going well

     4   with you.     I haven't talked to you in such a long

     5   time.     Helen, I needed to talk to you.      Can you give

     6   me a call at the office and I need to chat with you

     7   about this issue that came up a couple of years ago

     8   relative to this suit, so I need your assistance.            Why

     9   don't you give me a call at the office.         Use the 800

    10   number.     800-869-9005, extension 2280.      800-869-9005,

    11   extension 2280.     And probably best that you don't call

    12   from home.     Why don't you just call from an outside

    13   phone because I don't want any record that we had any

    14   discussion.     So if you give me a call, I would

    15   appreciate it.     I need to chat with you about this

    16   whole issue.     So I'll talk to you soon.      Take care.

    17   Hope all is well.

    18                    ANSWERING MACHINE:     Monday 10:14 a.m.

    19   (Beep)     End of final message.

    20              (Stop tape).

    21       A.      Do you want to hear the next message?

    22       Q.      Yes, please.

    23       A.      (Playing tape).

    24                    MS. SELENATI:     This is the second

    25   message left by Bob Mozak on Friday, the 9th of
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     1   November.

     2                    MR. MOZAK:     Hi, Helen.   It's Bob, Bob

     3   Mozak.     How are you doing?     I hope all is going well

     4   with you.     It's been a long time I know.      It's

     5   probably time to have our annual Christmas drink

     6   almost.     So I hope all is going well with school with

     7   you, but I just needed to chat with you, so if you get

     8   a chance, give me a buzz at the office.         If you don't

     9   remember, use the 800 number.        800-869-9005.      Need to

    10   chat with you about the -- the legal issues that have

    11   come up from the situation I mentioned to you five or

    12   six years ago.     So if you get a chance, give me a buzz

    13   at the office and -- and anyway, call me anyway.            I

    14   just want to touch base with you and see how things

    15   are going and -- and just catch up a little bit.            So

    16   hope all is well.     Talk to you soon, bye-bye.

    17                    ANSWERING MACHINE:     Friday 4:44 p.m.

    18   (Beep)     End of final message.

    19                    (End of tape).

    20                    MR. ESCOBAR:     Can we mark the tape as an

    21   exhibit?

    22                    MR. AZORSKY:     Yeah, we can mark it as an

    23   exhibit, but I think for purposes of custody

    24   Ms. Selenati ought to hold on to possession of it.

    25                    MR. ESCOBAR:     I don't think so.      I think
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     1       Q.      When did you write these notes?

     2       A.      I can't remember.    It was a while ago.      Maybe

     3   before the Texas deposition or maybe it was when I was

     4   reviewing my records.       I added something on later,

     5   yeah.     So I think I wrote them first a while ago and

     6   then I added a few things towards the end.

     7       Q.      What does the last notation refer to?

     8       A.      That's the one that I added.    That's when I

     9   went and testified in front of the grand jury in

    10   Boston.

    11       Q.      Were you granted immunity when you testified

    12   before the grand jury in Boston?

    13       A.      No, I wasn't.

    14       Q.      After Mr. Mozak left those messages on your

    15   telephone answering machine on November 5th and

    16   November 9th, 2001, did you subsequently have a

    17   telephone conversation with Mr. Mozak?

    18       A.      Yes.   A few days later after November 9th he

    19   actually caught me live on the phone at home and I did

    20   have a conversation with him.

    21       Q.      What was said during that conversation?

    22       A.      Well, Mr. Mozak was trying to get me to admit

    23   that I took full responsibility for having written the

    24   memo on May 30th, '95 and that he -- he was trying to

    25   tell me that he knew nothing about it.        And I got
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     1   really upset with him because it was clear to me that

     2   he was trying to avoid testifying of any knowledge of

     3   the situation and he -- he was expecting me to take

     4   full responsibility for orchestrating this change in

     5   WAC all by myself.   And when I objected and told him

     6   that we had many discussions about it and how can he

     7   be denying this now and -- and what is this all about,

     8   he -- I can't say exactly what the words were, but the

     9   gist of the conversation was that he told me that he

    10   still needs to retire at Dey and that I'm not even

    11   working in the industry and there would be no

    12   consequence to me if I just took full responsibility

    13   for this and he needed his job and he couldn't be held

    14   responsible for having any knowledge of what went on

    15   with WAC price adjustments.

    16       Q.   Well, as a result of your conversation with

    17   Mozak in November of 2001 were you willing to and in

    18   fact did you change your testimony or alter how you

    19   would testify based upon his request that you do so?

    20                 MR. ESCOBAR:     Objection to the form.

    21       A.   I hadn't testified at that stage, so there

    22   was nothing that needed to be changed.

    23       Q.   (BY MR. AZORSKY)     Well, did you decide that

    24   you would testify in accordance with how he requested

    25   that you testify?
